






Opinion issued October 9, 2008









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00701-CV

____________


H.G. RHODES, INC., Appellant


V.


ALI PARSA AND SHADY PARSA, Appellees






On Appeal from the 133rd District Court

Harris County, Texas

Trial Court Cause No. 2006-56954






MEMORANDUM  OPINION

	Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Nuchia and Higley.


